                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 LEXOR MANUFACTURING LLC,                      §
                                               §
      Plaintiff,                               §
                                               §
 v.                                            §   Civil Action No. 3:18-CV-01933-N
                                               §
 LURACO INC, et al.,                           §
                                               §
      Defendants.                              §

                                          ORDER

         A status telephone conference is set in this case on Monday, August 22, at 3:00 p.m.

on Defendant’s motion for scheduling conference to amend the scheduling order [46].

Information to attend the call will be emailed to the parties.

         Signed August 19, 2022.




                                                              David C. Godbey
                                                         United States District Judge




ORDER – SOLO PAGE
